    Case 2:20-cr-00055-MLCF-KWR Document 110 Filed 01/26/21 Page 1 of 1




                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                    *      CRIMINAL NO. 20-cr-00055
                                            *           SECT. F. MAG.4
VERSUS                                      *
                                            *      JUDGE FELDMAN
JASON R. WILLIAMS            (01)           *
NICOLE E. BURDETT            (02)           *      MAGISTRATE JUDGE ROBY

                    GOVERNMENT’S REQUEST FOR SUBPOENAS

       Please issue signed subpoenas as noted below, pursuant to Rules 17(a) and (c) of the

Federal Rules of Criminal Procedure. I hereby certify that the number of subpoenas requested is

in accordance with the Federal Rules of Criminal Procedure.

            SUBPOENAS TO TESTIFY AND/OR PRODUCE DOCUMENTS

       Thirty sets for trial scheduled on November 1, 2021.

                                            Respectfully submitted,

                                            ALEXANDER C. VAN HOOK
                                            Acting United States Attorney
                                            Western District of Louisiana


                                    BY:     /s/ Kelly P. Uebinger
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